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 Counsel for NexPoint Advisors, L.P. and Highland
 Capital Management Fund Advisors, L.P.
                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
   In re:
                                                         Chapter 11
   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                  Reorganized Debtor.                    Case No. 19-34054-sgj11
   MARC S. KIRSCHNER, AS LITIGATION TRUSTEE
   OF THE LITIGATION SUB-TRUST,
                  Plaintiff,
            v.
   JAMES D. DONDERO; MARK A. OKADA; SCOTT
   ELLINGTON; ISAAC LEVENTON; GRANT JAMES
   SCOTT III; FRANK WATERHOUSE; STRAND
   ADVISORS, INC.; NEXPOINT ADVISORS, L.P.;
   HIGHLAND CAPITAL MANAGEMENT FUND
   ADVISORS, L.P.; DUGABOY INVESTMENT TRUST
   AND NANCY DONDERO, AS TRUSTEE OF
   DUGABOY INVESTMENT TRUST; GET GOOD
   TRUST AND GRANT JAMES SCOTT III, AS
   TRUSTEE OF GET GOOD TRUST; HUNTER
   MOUNTAIN INVESTMENT TRUST; MARK & Adv. Pro. No. 21-03076-sgj
   PAMELA OKADA FAMILY TRUST – EXEMPT
   TRUST #1 AND LAWRENCE TONOMURA AS
   TRUSTEE OF MARK & PAMELA OKADA FAMILY
   TRUST – EXEMPT TRUST #1; MARK & PAMELA
   OKADA FAMILY TRUST – EXEMPT TRUST #2
   AND LAWRENCE TONOMURA IN HIS CAPACITY
   AS TRUSTEE OF MARK & PAMELA OKADA
   FAMILY TRUST – EXEMPT TRUST #2; CLO
   HOLDCO, LTD.; CHARITABLE DAF HOLDCO,
   LTD.; CHARITABLE DAF FUND, LP.; HIGHLAND
   DALLAS FOUNDATION; RAND PE FUND I, LP,
   SERIES 1; MASSAND CAPITAL, LLC; MASSAND
   CAPITAL, INC.; SAS ASSET RECOVERY, LTD.;
   AND CPCM, LLC,
                  Defendants.
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                   NOTICE OF ISSUANCE OF SUBPOENA TO
          PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
          PERMIT INSPECTION OF PREMISES TO ALVAREZ & MARSAL.


       PLEASE TAKE NOTICE that Defendants, NexPoint Advisors, L.P. and Highland

Capital Management Fund Advisors, L.P., by and through their attorneys of record, intend to serve

the Subpoena attached hereto as Exhibit “A,” pursuant to Rule 45 of the Federal Rules of Civil

Procedure, as made applicable by Rule 9016 of the Federal Rules of Bankruptcy Procedure, on

third-party, Alvarez & Marsal.




 Dated: January 6, 2023

 By: /s/ Michael Aigen
 Michael Aigen
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 Deborah Deitsch-Perez
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 Counsel for NexPoint Advisors, L.P. and
 Highland Capital Management Fund Advisors,
 L.P.




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                               CERTIFICATE OF SERVICE

       I certify that on January 6, 2023, a true and correct copy of the above and foregoing

document was served via electronic email through the Court’s CM/ECF system to the parties that

have requested or consented to such service.

                                                   /s/ Michael Aigen
                                                   Michael Aigen




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                          EXHIBIT "A"
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)
                                                              Document      Page 5 of 17
                                      UNITED STATES BANKRUPTCY COURT
  _________________________________________
                                Northern    District of _________________________________________
                                                          Texas
          HIGHLAND CAPITAL MANAGEMENT, L.P.,
In re __________________________________________
                                    Debtor
                                                                                                     19-34054-sgj
                                                                                     Case No. _____________________
           (Complete if issued in an adversary proceeding)
                                                                                              11
                                                                                     Chapter ___________
  Mark S. Kirschner, as Litigation Trustee of the Litigation
_________________________________________
  Sub-Trust,
                                    Plaintiff
                         v.                                                                           21-03076-sgj
                                                                                     Adv. Proc. No. ________________
       James D. Dondero, et al.,
__________________________________________
                                  Defendant

          SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
          INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
           Alvarez & Marsal
  To:   ________________________________________________________________________________________
                                                          (Name of person to whom the subpoena is directed)

   X Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See Attachment A.

  PLACE Electronically to the undersigned counsel or                                                         DATE AND TIME
              Stinson LLP
              2200 Ross Ave, Ste. 2900, Dallas, Texas 75201                                                      February 6, 2023 at 9:00 am


      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.
             January 6, 2023
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                                                                                 /s/ Michael Aigen
                                    ________________________                                ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature
                                                                                                Michael Aigen
  The name, address, email address, and telephone number of the attorney representing (name of party)
    See Exhibit 1 attached hereto
  ____________________________       , who issues or requests this subpoena, are:
     See Exhibit 1 attached hereto
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)
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                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                                Attachment A


                                            DEFINITIONS

The following definitions shall apply herein:

   1. The terms “all,” “any,” and “each” shall each be construed as encompassing any and all. The
      connectives “and” and “or” shall be construed either disjunctively or conjunctively as necessary
      to bring within the scope of the discovery request all responses that might otherwise be construed
      to be outside of its scope. The use of the singular form of any word includes the plural and vice
      versa.
   2. The term “document” is defined to be synonymous in meaning and equal scope to the usage of the
      term “documents or electronically stored information” in Fed. R. Civ. P. 34(a)(1)(A). A draft or
      non-identical copy is a separate document within the meaning of this term. “Document” shall be
      construed as a document and all attachments thereto.

   3. The terms “including” and “includes” are used to provide examples of certain types of information
      and should not be construed as limiting a request in any way. The term “including” shall be
      construed as if followed by the phrase “but not limited to.”

   4. “Crusader Funds” means Highland Offshore Partners L.P., Highland Crusader Fund, L.P.,
      Highland Crusader Fund, Ltd., and Highland Crusader Fund II, Ltd., collectively.

   5. “Crusader Litigation” means the arbitration between the Redeemer Committee and HCMLP, as
      well as litigation filed by the Redeemer Committee against HCMLP in Delaware, Bermuda, and
      or the Cayman Islands to confirm the arbitration award and/or obtain related relief.

   6. “HCMLP” means Highland Capital Management, L.P.

   7. “Redeemer Committee” means the Redeemer Committee of the Highland Crusader Fund.




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                        PROPOSED PRODUCTION SPECIFICATIONS FOR
  ELECTRONICALLY STORED INFORMATION (“ESI”) AND HARD COPY DOCUMENTS

DOCUMENT CATEGORIES


   1. Email, Attachments, and Other Electronic Messages


Email and other electronic messages (e.g., instant messages (IMs)) should be produced as image files
with related searchable text, metadata and bibliographic information. Depending on how the company's
systems represent names in email messages or IMs, we may require a table of names or contact lists
from custodians. Electronic messages include, but are not limited to, messages sent via (a)
Android/Google Messages, Blackberry Messenger, Discord, Facebook Messager, GroupMe, iMessage,
IMO, KIK, Samsung Messaging, Signal, Skype, Telegram Viber, WeChat, WhatsApp, and any other
short messaging service (SMS) application, and (b) any business messaging platforms including
Bloomberg IM, Chanty, Google Chat, MS Teams, Rocket, Slack, Yammer and any other comparable
application.


Email repositories, also known as email databases (e.g., Outlook .PST, Lotus .NSF), can contain a
variety of items, including messages, calendars, contacts, tasks, etc. For purposes of production,
responsive items should include the “Email” metadata/database fields outlined in the Metadata Table,
including but not limited to all parent items (mail, calendar, contacts, tasks, notes, etc.) and child files
(attachments of files to email or other items), with the parent/child relationship preserved. Similar items
found and collected outside an email repository
(e.g., .MSG, .EML, .HTM, .MHT) should be produced in the same manner.
   2. Electronic Documents

Electronic documents include word-processing documents, spreadsheets, presentations, and all other
electronic documents not specifically discussed elsewhere. Production of these items should include
image files with related searchable text, metadata, and bibliographic information. All passwords and
encryption must be removed from electronic documents prior to production. Please note the following:
           a. Presentations -- Presentations should be produced in full slide image format along
               with speaker notes (which should follow the full images of the slides) with related
               searchable text, metadata, and bibliographic information. Presentations should also
               be produced in native format (e.g.,
               as .PPT files). The linked native file name should match the BEGDOC#/DOCID
               with the appropriate file extension.


           b. Spreadsheet Files -- Spreadsheets should be produced in native format (e.g., as
               .XLSX files), with searchable text for the entire document, metadata, and



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               bibliographic information. Provide a single placeholder image. The
               placeholder image must contain at a minimum the BEGDOC#,
               FILENAME, and FILEPATH. The Bates range for a spreadsheet should be a
               single number (e.g., ABC00000001 – ABC00000001). The linked native file
               name should match the BEGDOC#/DOCID with the appropriate file extension.


          c. Hidden Files -- All hidden text (e.g., track changes, hidden columns, hidden slides,
               mark-ups, notes) shall be expanded and rendered in the extracted text file. For files that
               cannot be expanded linked native files shall be produced with the image files.

          d. Embedded Files -- All embedded objects (e.g., graphical files, Word documents, Excel
               spreadsheets, .wav files) that are found within a file shall be produced so as to maintain
               the integrity of the source document as a single document. For purposes of production
               the embedded files shall remain embedded as part of the original source document.
               Hyperlinked files must be produced as separate, attached documents. Any objects that
               cannot be rendered to images and extracted text (e.g., .wav, .avi files) must be produced
               as separate extracted files treated as attachments to the original file.
          e. Image-Only Files -- All image-only files (non-searchable .PDFs, multi-page TIFFs,
               Snipping Tool screenshots, etc., as well as all other images that contain text) shall
               be produced with associated OCR text, metadata, and bibliographic information.
          f.   Archive File Types -- Archive file types (e.g., .zip, .rar) must be uncompressed for
               processing. Each file contained within an archive file should be produced as a child to
               the parent archive file. If the archive file is itself an attachment, that parent/child
               relationship must also be preserved.
          g. Non-Standard Files -- Non-standard electronic files include, but are not limited to,
               system files, source code, transactional data, database files, audio and video files, and
               proprietary applications not publicly available. Database files should be produced both
               in native format, where possible, and also exported and produced in .xlsx format. Upon
               request and demonstration of need, productions of these types of files will be negotiated
               between the parties to determine a reasonable production format. Note that some non-
               standard files may be included in the production as part of a native container file, such
               as ZIP or MSG files.


   3. Hard-Copy (or Paper) Documents


Hard-copy documents are to be produced as black-and-white image files, except where noted below,
with related searchable OCR text and bibliographic information. Special attention should be paid to
ensure that hard-copy documents are produced as they are kept, reflecting attachment relationships
between documents and information about the file folders within which each document is found. In
addition, a multi-page document must be produced as a single document (i.e., properly unitized) and
not multiple single-page documents. Where the original document is in color, that image should be
produced in color. These color images are to be produced as .jpg format. Hard-copy photographs


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should be produced as color .jpg, if originally in color, or grayscale .tif files if originally in black-and-
white.


    4. Parent-Child Relationships


Ensure that the association of families (i.e., between emails and attachments are preserved.) Email
attachments are consecutively produced with the parent email record.


PRODUCTION FORMAT


    5. Bates/Numbering Format


               files are named according to the Bates number of the TIFF image or native.
               consistent across the production;
               contains no special characters; and
               is numerically sequential within a given document.
               attachments to documents are assigned Bates numbers that directly follow the Bates
                numbers on the documents to which they were attached.


    6. Image/Native File Specifications


               Black-and-white Group IV Single-Page TIFFs (300 DPI). Color images should be
                provided in .JPG format for all native files containing color.
               Image file names should match the page identifier for that specific image and end
                with the .tif (or .jpg if needed) extension.
               File names cannot have embedded spaces, commas, underscores, ampersands,
                slashes, back slashes, hash marks, plus signs, percent signs, exclamation marks,
                any character used as a delimiter in the metadata load files, or any character not
                allowed in Windows file-naming convention. (, _ & \ / # + % ! : * ? “ < > | ~ @ ^)
               Images for a given document must reside together in the same folder.
               The maximum number of image and native files should be limited to 5,000 per folder.
               Native file names should match the BEGDOC#/DOCID entry for that specific
                record and end with the appropriate file extension.
               Any encryption or password protection will be removed from all native format files
                produced.


    7. Searchable Text File Specifications


               Extracted text should be provided with all records, where available.
                    For hard copy documents, please provide OCR text.


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                For redacted documents, provide OCR text for the redacted version.
          There should be a single extracted/OCR text file per document, in ASCII Text format
           only.
          The name of the text file should be the same as the document's first page/Bates
           number, with a TXT extension: DOCID.TXT.
          There must be a carriage return and line feed (CRLF) no later than the 250th character
           of the first line of every text file.
          All soft and hard returns in the native electronic or image file should be replicated as a
           Carriage Return Line Feed (CRLF) in the text file (i.e. the lines of text in the file
           terminate with a CRLF in correlation with the appearance of the native electronic or
           rendered image file).
          Text files should include page breaks that correspond to the “pagination” of the image
           files.
          Place text files under a "FULLTEXT" folder and provide a Control List file for
           loading in the “LOADFILES” folder on the delivery media


 8. Metadata Load File Delimiters (.dat)


          Field Separator ¶ (ASCII 020)
          Text Qualifier þ (ASCII 254)
          Substitute Carriage Return or New Line in data ® (ASCII 174)
          Multi-value separator (Do Not Follow with Space) ; (ASCII 059)
          Date format MMDDYYY (date type fields only)
          Time format HH:MM:SS in 24-hour format (e.g., 04:32 pm formatted to 16:32:00
           – Do not include AM, PM, or Timezone indicators). All times should be
           normalized to the UTC time standard.
          There should be one line for every record in the load file. A carriage return and line
           feed (CRLF) must appear at the end of each record and only at the end of each record.
          The first row of each metadata load file should be a header row containing the field
           names. Field names must match Division Metadata Table field names.
          All requested fields should be present in the metadata load file whether data exists or
           not. Field order must remain consistent in subsequent productions.


 9. Opticon Image Load File (.opt)


          ImageFilePath – The path to the image from the root of the delivery media.
          DocumentBreak – The letter “Y” denotes the first page of a document. If this field
           is blank the page is not the first page of a document.
          PageCount – Optional
          Example - ABC00000001, ABC001,.\Images\001\ ABC00000001.tif,Y,,,


 10. Standard Field List




                                                                                                     5
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FieldName              Field Name Description
BEGBATES               Unique beginning document or production number
ENDBATES               Ending document or production number
BEGATTACH              Displays BEGBATES # of parent record.
ENDATTACH              ENDBATES # of last attached document in a family.
                       Stores BegBates # of parent record and EndDoc# of last
ATTACHRANGE            attachment
                       Yes/No field; Identifies parent document (only need to
Is Parent              populate yes for parent documents)
                       The first document/bates number for each parent record;
PARENT ID              populated only for attachments
                       First document/bates number of each attachment,
CHILD ID               separated by semicolons.
                       Populates parent records with original filenames of all
Attach                 attached records, separated by semi-colons
NUMATTACH              Total number of records attached to the document
CUSTODIAN              Source or Owner of Data
                       A list of all the owners of the documents (separated by
ALL CUSTODIAN          semi-colons)
EMAILTO                Main recipient(s) of the email message
EMAILFROM              Author of email message
EMAILCC          Recipient(s) of "Carbon copies" of the email message
EMAILBCC         Recipient(s) of "Blind Carbon copies" of the email message
EMAILSUBJECT     Subject of email message
                 Sent date and time of an email message using this format
DATETIMESENT     DD/MM/YYYY HH:MM (using 24 hour clock)
                 Received date and time of an email message using this
DATETIMERECEIVED format DD/MM/YYYY HH:MM (using 24 hour clock)
                 Creation date and time of the native file using this format
DATETIMECREATED DD/MM/YYYY HH:MM (using 24 hour clock)
DATECREATED      Creation date of the native file
TIMECREATED            Creation time of the native file
                       Date and time of the native file was last modified using this
DATETIMEMODIFIED       format DD/MM/YYYY HH:MM (using 24 hour clock)
LASTAUTHOR             Last author who modified the document
                       Parent Date is populated for all family members (If e-mail
DATESORT               "DATESENT," if loose "DATEMODIFIED"
                       Original filename of native file. Contains subject of email
FILENAME               message for email records.
DOCEXT                 File extension of native file.
AUTHOR                 Author field value pulled from metadata of the native file
FILERECORDTYPE         I.E. "e-jail" or "E-mail attachment" or "Loose File"
File Size              size of the file (KB)




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                     Loose Files: Subject field value extracted from metadata of
DocumentSubject      native field.
PGCOUNT              Number of pages in a document (image records)
                     Comments field value pulled from the metadata of the
Comments             native file
EntryID              Unique identifier of emails in mail stores
                     Description of native file types as listed in file type
FileDescription      database
MD5HASH              MD5HASH
TIME ZONE            Time zone processed (note all times should be normalized to
                     the UTC time standard)
ORIGINAL FOLDER      Fully qualified original path to the source folder, files,
PATH                 and/or mail stores
                     A list of all the native file paths to the document as
ALLPATHS             it was kept in the ordinary course of business
                     (including documents removed through
                     deduplication). To the extent you are unable to
                     provide native file paths for deduplicated
                     documents, produce all versions of such document
                     with unique metadata, including native file path.
                     Title field value extracted from the metadata of the native
TITLE                file (includes document title and/or title of the file)
Conversation         Normalized subject of e-mails
Conversation Index   Email thread identification
DateAppStart         Appointment start date for calendar items
DateAppEnd           Appointment end date for calendar items
DelivReceipt         Delivery receipt request notification
                     Yes/No field; Identifies if the document contains hidden
HiddenText           content
                     Yes/No field for identifying family members which are
ISEMBEDDED           embedded
Importance           Importance field extracted from an email message
ReadReceipt          Read receipt request notification for email message
Revision             Revision number extracted from metadata of native file
Sensitivity          Sensitivity field extracted from email messages
SEARCH HITS          Multiple Choice filed, include all terms document hits
OCR PATH             Links text files
NATIVE PATH          Links native files




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                                 REQUESTED DOCUMENTS

1. All final audited financial statements of the Crusader Funds.

2. All unaudited financial statements of the Crusader Funds, including any quarterly or monthly
   unaudited financial statements and any pro forma financial statements.

3. All non-privilege documents and communications related to the Crusader Litigation.

4. All communications to the investors, limited partners, unit holders, redemption claim holders,
   redeemers, or shareholders of any Crusader Fund.




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                                              Exhibit 1

       The name, address, email address, and telephone number of the attorneys representing the parties
who issue or request this subpoena are:




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